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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA

                                 Alexandria Division

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )   No. 1:24-MJ-277
                                          )
MOHAMMAD K. DABOUS,                       )
                                          )
                  Defendant.              )

 CONSENT MOTION FOR ENTRY OF AN AGREED PROTECTIVE ORDER

        To expedite the government’s disclosure of gate camera materials (“Video

materials”) in misdemeanor and petty offense cases, and to adequately protect the

privacy rights of the persons depicted therein, pursuant to the Court’s authority

under Fed. R. Crim. P. 16(d)(1), and with the consent of defense counsel, the

Government requests entry of the proposed protective order.

        1.    As part of the discovery in this matter, the United States intends to

produce Video materials and other investigative materials that may contain the

visual depictions, confidential information, and/or personal identifying information

(“PII”) of potential witnesses, and other third parties.

        2.    The need to produce much of this data in its original format, together

with the volume of the data and the interests in producing the material expeditiously,

makes it infeasible to make redactions to the materials.

        3.    Accordingly, the proposed Protective Order regulates discovery in this

case by restricting the use and dissemination of documents, videos, and other
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information obtained through discovery that contain certain jointly agreed-upon

categories of Sensitive information.

      WHEREFORE, the undersigned, with the consent of counsel for the defendant,

respectfully requests that the Court enter the proposed Protective Order.

                                       Respectfully Submitted,


                                       Jessica D. Aber
                                       United States Attorney


                                 By:

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                           CERTIFICATE OF SERVICE

      I certify that on September 3, 2024, I filed the foregoing document with the

Clerk of Court using the CM/ECF system, which will cause a true and accurate

copy of this document to be transmitted to counsel of record.



                                  By:   ____________________
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